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 4                        UNITED STATES DISTRICT COURT

 5                       EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,             No. 2:05-cr-00122-GEB
 8                  Plaintiff,
 9         v.                              ORDER REFERENCING REQUEST FOR
                                           APPOINTMENT OF COUNSEL TO THE
10   TALTON D. ROBINSON,                   FEDERAL DEFENDER AND INFORMINING
                                           THE UNITED STATES ATTORNEY THAT
11                  Defendant.             A SENTENCE REDUCTION MOTION IS
                                           PENDING
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13
                Defendant Talton Robinson filed a motion under the First
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     Step Act on January 2, 2019, in which he requests the appointment
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     of counsel.
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                The Federal Public Defender is requested to determine
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     Robinson’s eligibility for representation.           Further, this order
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     shall also be served on the United States Attorney.
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                Dated:   January 10, 2019
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